Case 2:05-CV-02041-SHI\/|-tmp Document 69 Filed 07/11/05 Page 1 of 5.. Page|D 45

UNITED sTATES DISTRICT CoURT F"'E° 'B"' ‘ m

FoR THE wEsTERN msTRICT oF TENNESSEE 95 JUL l l PH 3. bn
lt GOULD

JAMES C. BARBER, Sr. CUM U.S. 513ch 001 m
W/D OF `§N t%EMPHfS

Plaimiff, ease No. 2:05-¢v-02041-SHM-¢mp

v. Hon. Samuel M. Mays, Jr.
U.S. District Judge
RADIANS, INC. and Hon. Tu M. Pham
MIKE TUT()R,

JURY DEMAND

\_/\_/\_/\_/\_/\_/\¢,¢\_/'~q./\-/

Defendants.

ORDER GRANTING PARTIES’ JOINT MOTION
FOR EXTENSI()N OF TIME

It appearing to the Court, the parties’ Joint Motion for Extension of Time to
Respond to Pending Motions to Compel is well taken.
lT IS HEREBY ORDERED, ADJUDGED AND DECREED that:
l. Plaintiff shall have by and through July 13, 2005 to respond to Defendant’S
Motion to Compel.
2. Deferldants Shall have by and through July 22, 2005 to respond to

Plaintiff’s Motion to Compel.

Entered this the ll day of rl§g§< ,2005.
mg %. _

JUDGE ‘ " `\-

Té-is document entered on the docket Sheet'

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Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:05-CV-02041 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

